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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IOU CENTRAL, INC.                                     :
d/b/a IOU FINANCIAL, INC                              :
                                                      :
       Plaintiff,                                     :
vs.                                                   :      CASE NO.:
                                                      :
HOWARD D. MASON, III,                                 :
TARINA L. MASON,                                      :
SHOE STUDIO, LLC,                                     :
SPORTY’S TAPHOUSE AND GRILL, INC. ,                   :
EDS LLC; U.S. BANK, N.A.,                             :
LEAGUE SERVICES, LLC,                                 :
GATEKEEPER SERVICES, LLC,                             :
SYSCO CINCINNATI, LLC,                                :
ARBOR SQUARE II, LLC,                                 :
DIRECT CAPITAL CORPORATION,                           :
1 GLOBAL CAPITAL, LLC,                                :
                                                      :
       Defendants.                                    :

                                          COMPLAINT

        Plaintiff sues the Defendants as follows:

       1.       Plaintiff is incorporated in Delaware, whose principal place of business is located

in Georgia, which is a citizen of both states per 28 U.S.C. §1332.

       2.       Defendants Howard and Tarina Mason are married individuals domiciled in and

citizens of Ohio per §1332 as is Shoe Studio LLC [SSL] whose sole member is Howard Mason

as is Defendant EDS, LLC, a non-existent entity, purportedly organized as an LLC.

       3.       Defendant Sporty’s [STG] is incorporated in Ohio, the location of its principal

place of business, of which it is a citizen per 28 U.S.C. § 1332.

       4.       The sole member of Defendants League and Gatekeeper is Willie Walker, an

individual domiciled in and a citizen of Ohio per 28 U.S.C. § 1332.




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       5.       U.S. Bank is a national bank, with its principal place of business located in Ohio

of which it is a citizen per 28 U.S.C. § 1348.

       6.       Defendant Sysco Cincinnati, LLC’s sole member is Sysco Corp, incorporated in

Texas, the location of its principal place of business of which it is a citizen per 28 U.S.C. § 1332.

       7.       Defendant Arbor Square II LLC’s sole member is John Westheimer, an individual

domiciled in and a citizen of Ohio per 28 U.S.C. § 1332.

       8.       Defendant Direct Capital is incorporated in New Hampshire, the location of its

principal place of business, of which it is a citizen per 28 U.S.C. § 1332.

       9.       Defendant 1Global’s member(s) are Carl Ruderman, and/or Joseph Luzinski,

and/or Bradley Sharp and/or James Cassell, individual(s) domiciled in and citizen(s) of Florida

per 28 U.S.C. § 1332.

       10.      Per §1331, jurisdiction exists by 18 U.S.C. § 1961 et seq, as HDM, TM, STG and

SSL shown below, operated, managed, participated in and conducted an enterprise; through their

pattern of racketeering activity, federal crimes directed to Plaintiff, affecting interstate

commerce; causing injury to Plaintiff in its business/property. Kushner v. King, 533 U.S. 158

(2001); Sedima v. Imrex, 473 U.S. 479 (1985) Per §1367, jurisdiction exists on all claims.

       11.      Per §1332, jurisdiction exists as to the diverse parties and the sum in controversy

exceeds $76,000.00 per the value of the relief from plaintiff’s perspective, with attorney’s fees.

Jones v. Landry, 387 F.2d 102 (5th Cir. 1967); Cohen v. Office, 204 F.3d 1077 (11th Cir. 2000);

Occidental v. Bullard, 995 F.2d 1046 (11th Cir. 1986); Value may be determined by an

instrument governing property at issue. Waller v. Prof., 296 F.2d 547 (5th Cir. 1961)

       12.      Per O.C.G.A. § 9-10-90 et seq and/or the Constitution, personal jurisdiction exists

and is proper for the Defendants, who reside in and/or transact business in Georgia; committed




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and/or conspired to commit tortious acts or omissions in Georgia; and/or committed Georgia acts

or omissions as agents of each other; and/or committed tortious injuries in Georgia by acts and/or

omissions outside of Georgia; engaged in persistent Georgia contact; derived revenue from

Georgia goods and/or consumed Georgia services; and/or reasonably consented to personal

jurisdiction in Georgia, where they are subject to liability and/or per O.C.G.A. § 16-9-94.

       13.     Plaintiff does not seek any damages or other in-personam relief as to Defendants

U.S. Bank, Sysco Cincinnati, Arbor Square, Direct Capital and Defendant 1Global, provided that

they seek none against Plaintiff in turn.

       14.     Under 28 U.S.C. § 1391 and § 90, venue is proper as the Defendants reside in this

District; and/or where a substantial part of the events or omissions giving rise to the claims

occurred; and/or venue is proper by agreement of the parties in the Instruments at issue.

       15.     On 4/6/06, Defendants Howard and Tarina Mason [HDM and TM] acquired title to

realty, 3148 Northerton Ct, Dayton OH 45414, Parcel No. 253230006, as spouses, by a Warranty

Deed executed that day, recorded 5/10/06, Montgomery Deed No. 2006-042499. [Mason Property]

       16.     On 4/27/06, HDM and TM executed a Promissory Note in the principal sum of

$355,450.00 to First Equity Mortgage, for which the Mason Property was secured as collateral by a

Mortgage, executed 4/27/06, recorded 5/11/06, Instrument No. 2006-042501. [First Loan]

       17.     Upon information, HDM/TM used the First Loan to purchase the Mason Property.

       18.     On 6/25/12, HDM and TM executed a Note in the principal sum of $350,800.00 to

Wright-Patt Credit Union, for which the Mason Property was secured as collateral by a Mortgage,

executed 6/25/12, recorded 7/5/12, Instrument No. 2012-041411. [Second Loan]

       19.     Upon information, HDM and TM used the Second Loan to satisfy the First Loan per

a Satisfaction of the First Loan recorded 9/25/12, Instrument No. 2012-00062233.




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        20.     On 3/31/16, Defendant HDM formed Defendant STG, whose address was listed as

3201 Siebenthaler Avenue, Dayton OH 45406, of which HDM was the sole and/or majority owner.

        21.     On 8/26/16, Defendant HDM executed a Quitclaim Deed, conveying his interest in

the Mason Property to Defendant TM, recorded 9/6/16, Instrument No. 2016-00047946, to avoid

any attachment in this property of his debt, such as that of Plaintiff, detailed below.

        22.     On 9/19/16, HDM and TM executed an Open-End Mortgage with a principal limit

of $272,000.00, to U.S. Bank, securing the Mason Property as collateral for this debt, recorded

10/13/16, Instrument No. 2016-00056699. [Third Loan]

        23.     On 9/20/16, TM executed a Line of Credit Note, with a principal limit of

$28,500.00, to U.S. Bank, secured by an open-end Mortgage on the Mason Property, recorded

10/13/16, Instrument No. 2016-00056755. [Fourth Loan]

        24.     On or about 9/20/16, HDM submitted an online loan application to Plaintiff’s

website, at its Georgia office for a commercial loan [Loan] misrepresenting (a) he sought a

commercial loan from Plaintiff on behalf of SSL, a legal entity; (b) whose address was 3207

Siebenthaler Ave Dayton, OH 45406, Vendor License No. 57101964; (c) the loan was solely for the

alleged business/commercial purposes to expand SSL’s shoe inventory/marketing; (d) which

they would and could repay; (e) HDM resided at 3148 Northerton Ct, Dayton OH; (f) HDM

authorized ACH withdrawals from SSL’s business account; (g) submitted bank statements and other

documents to this effect.

        25.     On 9/23/16, HDM spoke by phone with Plaintiff’s Georgia staff confirming the

information in the Loan Application, the telephone call and in the below Loan Documents.




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       26.     On 9/23/16, HDM electronically executed a Promissory Note to Plaintiff, through

its website at its Georgia office, on behalf of SSL, for the principal sum of $77,248.00, through

Plaintiff’s website at its Georgia office, in exchange for Plaintiff’s Loan funds. [Funds] which

confirmed the information in the Loan Application and the telephone call as to the Application.

       27.     The Note includes a Security Agreement, under which HDM and SSL guaranteed

their real and/or personal property as collateral for the Loan, which states as follows:

       As security for the due and punctual payment of all amounts due or to become
       due and the performance of all obligations of Borrower from time to time under
       this Note and all extensions, renewals and amendments of any of the foregoing
       Borrower hereby pledges, transfers, assigns, conveys and grants a security interest
       to a continuing lien upon and security interest in and to all of Borrower’s now
       owned or hereafter acquired, created or arising property including any right, title
       or interest in or to property of any kind whatsoever, whether real, personal or
       mixed, and whether tangible or intangible, and in each case regardless of where
       such Property may be located and whether such Property may be in the possession
       of Borrower, Lender or a third party and shall include any right, title or interest in
       or to property of any kind whatsoever, whether real, personal or mixed, and
       whether tangible or intangible and (1) any and all amounts owing to Borrower
       now or in the future from any merchant processor(s) processing charges made by
       customers of Borrower via credit card or debit card transactions: and (2) all other
       tangible and intangible personal property, including, but not limited to: (a)
       inventory, (b) equipment, (c) investment property, including certificated and
       uncertificated securities, securities accounts, security entitlements, commodity
       contracts and commodity accounts, (d) instruments, including promissory notes,
       (e) chattel paper, including tangible chattel paper and electronic chattel paper, (f)
       documents, (g) letter of credit rights, (h) accounts, including health care insurance
       receivables, (i) deposit accounts, (j) general intangibles, including payment
       intangibles and software, and (k) as-extracted collateral as such terms may from
       time to time be defined in the Uniform Commercial Code. The collateral includes
       all accessions, attachments, accessories, parts, supplies and replacements for the
       collateral, all products, proceeds and collections thereof and all records and data
       relation thereto. [Promissory Note Paragraph 21]

       28.     On 9/23/16, HDM electronically executed a Guaranty of Plaintiff’s Note, through

its website at its Georgia office, who guaranteed its performance, including the above Security

Agreement on all property owned by him and/or SSL, including the Mason Property and that of

Defendant STG, further detailed below.




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       29.     Under the Guaranty, HDM granted and/or intended to grant the same security

interest in his property and that of SSL to guaranty its performance of the Instruments, including

the Security Agreement, as both ultimately received and personally benefitted from the Funds.

       30.     The Note and Guaranty both provide that they are enforceable in Georgia courts.

       31.     On or about 9/23/16, HDM approved disbursement of the Funds, through

Plaintiff’s website at its Georgia office, for the alleged purposes of the Loan.

       32.     On or about 9/23/16, HDM received the Funds by wire transfer from Plaintiff for

the alleged purposes of the Loan, from Plaintiff’s account at an FDIC-insured bank.

       33.     HDL then closed his FDIC-insured account on 9/26/16 to block pre-approved

ACH payments for the loan to Plaintiff’s Georgia office and made no payments on the Loan.

       34.     Plaintiff actually and justifiably relied on HDM’s representations as honest and

accurate in the Loan Application, Loan Documents, during the call and per his electronic

approval for disbursement of the Funds; which resulted in Plaintiff wiring the Funds to him.

       35.     HDM, TM, STG and SSL did and/or conspired to make false/misleading

representations, or omissions of material fact to Plaintiff through HDM, shown above and below,

who promised to repay the Funds intending never to repay them or which could not be repaid, as he

knowingly misrepresented and/or failed to disclose to Plaintiff he (a) was dissolving and/or closing

SSL; (b) which would not exist at 3207 Siebenthaler Ave; (c) sought the Funds only to satisfy

personal debt by him/TM on the Mason Property and/or invest in STG; (d) he and SSL promised to

repay the Funds which they would not and/or could not repay, per their undisclosed loan purposes

and substantial unpaid debt to other creditors, such as the debt of Sysco, Global, Direct, Arbor and

debt with U.S. Bank, incurred at the same time as Plaintiff’s loan, which did not appear on his credit

report; (e) quitclaimed his interest in the Mason Property at the last minute to TM for $1.00; (f) was




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terminating SSL’s account; (g) his bank statements and other documents of SSL were false; (h)

Plaintiff would not have loaned the Funds if these facts were disclosed.

       36.     Upon information, HDM and TM used the Funds to satisfy the Second Loan on the

Mason Property, per its Satisfaction recorded 10/24/16, Instrument No. 2016-0058908.

       37.     Upon information, HDM and TM obtained the Third and Fourth Loans, due to their

use of Plaintiff’s Funds to satisfy the Second Loan.

       38.     U.S. Bank took its Loans on the Mason Property subject to and with notice of the

2012 Second Loan, as did all other Defendants, as the 2012 Loan was still of record at the time of

recordation of all other claims in this case, which was satisfied by the Funds.

       39.     HDM dissolved Defendant SSL with Ohio Secretary of State, effective 9/30/16,

per a Certificate of Dissolution filed 8/7/17, which he intended to close at the time of the Loan.

       40.     On 11/17/16, Defendant HDM reinstated Defendant SSL with the Ohio Secretary

of State by Articles of Organization filed that day, listing himself as SSL’s owner/registered

agent and its address at 3207 Siebenthaler Avenue, Dayton OH 45406.

       41.     On 11/16/16, STG, by HDM, obtained title to realty, 3489, 3491, 3493 W.

Siebenthaler Ave, Dayton OH, Parcel No. R72163-08-0009 [2016 STG Property], by a Warranty

Deed executed that day, recorded 12/5/16, Inst. No. 2016-00067961, Dayton Lot 76907.

       42.     The above 2016 Warranty Deed lists the Mason Property as STG’s address.

       43.      Upon information, STG, TM and HDM used the Funds to acquire assets for STG,

such as purchasing the 2016 STG Property and financing its business from which they benefitted.

       44.     Upon information, HDM and/or TM funded and formed SSL and/or STG, to

protect their assets, including the Mason Property and property allegedly owned by STG, from

actions to collect debt owed by HDM to creditors, such as Plaintiff and the other Defendants.




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       45.     Upon information, the assets of HDM, TM, SSL and/or STG are not separate and

SSL and/or STG are owned and operated by HDM and/or TM from the Mason Property, which

originally shared HDM as their agent and incorporator.

       46.     On 8/8/17, HDM conveyed the 2016 STG Property to EPS LLC, per a Warranty

Deed executed that day, recorded 8/8/17, Instrument No. 2017-00046605, again listing STG’s

address as the Mason Property and listing EPS’s address as the 2016 STG Property.

       47.     Upon information, HDM claims to be the CEO/sole member and owner of EPS.

       48.     On 4/26/18, HDM, as CEO of EPS, conveyed the 2016 STG Property to League

Services for $60,000, by a Warranty Deed executed that day, Instrument No. 201800024337,

listing the mailing address for the 2016 STG property as that of EPS and League.

       49.     EPS does not appear in the records of the Ohio Secretary of State as of 8/8/17

and/or 4/26/18, including with HDM as its officer, which was not a valid entity on either date.

       50.     EPS was not a valid entity on the date of the 2016 Deed conveying the 2016 STG

Property to it and on the date of the 2018 Deed conveying the STG Property from it.

       51.     Both Deeds to and from EPS for the 2016 STG Property are null and void as EPS

was not a valid entity which could not be a grantee or a grantor on the dates of those deeds.

       52.     Title to the 2016-STG Property remains vested in STG as a result of the non-

existence of EPS LLC on the date of the 2017 STG-Property Deed.

       53.     Plaintiff’s Note, Guaranty and/or Security Agreement attached to the 2016 STG-

Property and/or its proceeds, to which Plaintiff is entitled as holder of the primary interest, as a

result of the invalid deeds to and from EPS.

        54.    On 5/14/18, League, by and through Willie F. Walker as CEO, conveyed the 2016

STG Property to Gatekeeper Services, LLC, by a Warranty Deed executed that day, Instrument




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No. 2018-0028106, listing the mailing address for the 2016 STG property as that of Gatekeeper.

       55.     Willie F. Walker is listed as the registered agent for League and Gatekeeper in the

records of the Ohio Secretary of State.

       56.     League was formed on 11/27/17 and Gatekeeper was formed on 11/5/17.

       57.     Upon information, Walker was involved in similar civil and/or criminal disputes

regarding non-payment of debt and criminal violations.

       58.     Walker is known by HDM and TM, particularly as he conveyed other realty to

them, per a General Warranty Deed executed by him and his spouse on 1/31/11, recorded 2/1/11,

Instrument No. 2011-00007685, which HDM and TM sold 5/21/16, per a quitclaim deed

executed that day, Instrument No. 2016-00035850.

       59.     Upon information, League and Gatekeeper were organized purely to shield the

2016 STG Property from HDM’s creditors which are also alter-egos of HDM and/or TM.

       60.     League and Gatekeeper had knowledge and/or notice of the invalidity of the chain

of title for the 2016 STG-Property to and from EPS as shown above.

       61.     On 5/4/18, STG, by HDM, acquired title to realty, 5202 N. Main St. Dayton OH

45415, Parcel Nos. E2001008-0076/173100021, by a Warranty Deed executed that day, recorded

6/18/18, Montgomery Deed No. 201800036262, for $193,710.00. [2018 STG Property]

       62.     On 9/6/18, STG, TM and HMD opened a restaurant/sports pub at the 2018 STG

Property, which ‘seats as many as 250 people and will employ about 36 people” according to HMD,

who paid $188,000 for the 2018 STG Property, whose startup costs reached $300,000.

       63.     Upon information, STG, TM and HDM used the Funds, traceable from the 2016

Property, to purchase this 2018 Property and finance STG’s business from which they benefitted.




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       64.     HDM and/or TM owned and operated STG and SSL, League and Gatekeeper as

alter-egos, disregarding them as separate entities, using them as conduits and instrumentalities for

their personal affairs, such as obtaining the Funds and avoiding payment of the Loan, which

share and co-mingled their assets, finances, their ownership and their offices.

       65.     STG and SSL, League and Gatekeeper lack any existence separate from HDM

and/or TM, per their unified interest/ownership, which are mere subterfuges by HDM and/or TM

to avoid payment of Plaintiff’s debt, which should be justly disregarded, with full liability for

damages and relief imposed upon HDM, TM, SSL and STG, League and Gatekeeper.

       66.     Plaintiff’s Note, Guaranty and/or Security Agreement attached to the 2018 STG-

Property and/or its proceeds, as well as any other assets of STG, to which Plaintiff is entitled as

holder of the primary interest, as a result of the misconduct of STG, HDM and/or TM.

       67.     On 4/8/15, Sysco filed a certificate of judgment for $7,891.23 for HDM,

Montgomery Case No. 2015CJ196189, on Texas debt, subject to/with notice of the Second Loan.

       68.     On 11/18/15, Defendant Arbor filed a certificate of judgment for $322,978.54

against HDM, Montgomery Case No. 2014CV10899, subject to, with notice of the Second Loan.

       69.     On 12/19/16, Defendant Direct filed a certificate of judgment for $32,603.32

against HDM, Montgomery Case No. 2016CJ202095, subject to, with notice of the Second Loan.

       70.     On 8/28/17, Defendant 1Global filed a certificate of judgment for $64,493.20, for

Florida debt, against HDM/SSL, Montgomery Case No. 2017CJ204494, subject to, with notice

of the Second/Third Loans.

       71.     Upon information, HDM, TM, STG and/or SSL committed the same misconduct

as to U.S. Bank, Sysco, Arbor, Direct and Global as Plaintiff, per their liens, constituting the

same or identical state and/or federal crimes that HDM, TM, STG and/or SSL committed against




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Plaintiff, detailed below.

        72.     Plaintiff held and/or owned the Note, Guaranty [Instruments] and claims at issue

[Claims] and had standing to enforce them before commencing suit, their principal balance

and/or value exceeding $76,000.00, with attorney’s fees as provided by law and their terms.

        73.     HDM, TM, STG and/or SSL breached Plaintiff’s Instruments and/or did not

satisfy the Claims, not making payments and/or not fulfilling other obligations on them, in

default; and Plaintiff accelerated payment of their balance.

        74.     Plaintiff conferred the Funds evidenced by its Instruments and Claims upon HDM,

TM, STG and SSL of which they had knowledge.

        75.     Defendants HDM, TM, STG and SSL appreciated the benefit of the Funds, which

they authorized, requested and/or accepted and ratified, from which they benefitted.

        76.     HDM, TM, STG and SSL accepted and retained the Funds, which they should

return or compensate, who are otherwise unjustly enriched at Plaintiff’s expense, such as

satisfying debt on the Mason Property and/or purchasing the STG Properties and purchasing

their other assets, in which Plaintiff has the senior interest(s).

        77.     HDM, TM, STG and SSL are indebted to Plaintiff for the unpaid balance of the

Funds, plus interest, attorney’s fees, costs and other charges per law.

        78.     TM, STG and SSL are liable for HDM’s acts/omissions in this suit, as their

servant/agent, which he committed by their command and/or in the prosecution of and within the

scope of their business/enterprise, from which they benefitted and ratified.

        79.     All conditions precedent to suit occurred, were fulfilled, waived and/or their

occurrence and/or fulfillment was unnecessary and/or futile.




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       80.     All interests in the Properties are subject to, subordinate and inferior to Plaintiff’s

senior interest, of which Defendants had notice/knowledge, who are not prejudiced by this relief.

                  COUNT I: EQUITABLE AND/OR DECLARATORY RELIEF
                               AS TO ALL DEFENDANTS

       81.     ¶ 1-80, ¶ 98, ¶ 106 and ¶ 114 are incorporated by reference.

       82.     Plaintiff’s debt, evidenced by its Funds, including the Security Agreement, is the

intended senior interest in property owned by HDM, TM, STG and SSL which Plaintiff is

entitled to enforce, such as the Mason Property and the STG Properties.

       83.     It is unjust and inequitable for Plaintiff’s superior interest in above properties to

be impaired by the misconduct of HDM, TM, STG and SSL, causing the interests of the other

Defendants in them to appear senior to that of Plaintiff, which lacks a legal remedy.

       84.     The Funds ultimately satisfied and are equitably subrogated to the rights of the

Second Loan on the Mason Property, in turn subrogated to the rights of the First Loan on the Mason

Property; also subrogated as the senior interest in the 2016 and 2018 STG Property; and other

property owned by MDM, TM, STG and SSL traceable to Plaintiff’s Funds. and/or its proceeds,

       85.     Plaintiff is entitled to imposition of its senior interest in these properties and/or

their proceeds by virtue of equitable subrogation, setting aside the cancellation of and reviving

the 2012 Second Loan as the senior interest in the Mason Property held by Plaintiff; invalidating

the STG Deeds on the STG Properties in which Plaintiff also holds the senior interest; and

Plaintiff holds the senior interest in any property of SSL, STG, TM and HDM.

       86.     Alternatively, Plaintiff is entitled to imposition of a senior equitable lien;

equitable mortgage; constructive trust and/or like interest or remedy of its Loan on the Mason

and/or STG Properties in any property of SSL, STG, TM and HDM, to the extent its interest is

not equitably subrogated, as the Funds are traceable to these properties; in which HDM, TM,




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STG and SSL cannot otherwise enjoy any beneficial interest without violating principles of

equity, jeopardizing collection of the debt.

       87.     Per 28 U.S.C. § 2201 et seq, O.C.G.A. § 10-1-1 et seq, § 11-9-101 et seq, § 18-2-1

et seq, § 23-1-1 et seq, § 44-1-1 et seq, § 53-12-132 and applicable law, Plaintiff requests the

Court declare and establish its senior interest in these above properties and/or their proceeds for

the Loan by virtue of equitable subrogation, setting aside the cancellation of and reviving the

2012 Second Loan as its senior interest in the Mason Property; invalidating both STG Deeds on

the STG properties in which it also holds the senior interest; as well as the senior interest any

property of HDM, TM, SSL and STG and all other just relief.

       88.     Alternatively, Plaintiff requests the Court declare, establish and impose an senior

equitable lien; equitable mortgage; constructive trust and/or like interest or remedy against the

Mason Property; both STG Properties invalidating both STG Deeds on the STG properties in

which Plaintiff also holds the senior interest; and any other Property owned by HDM, TM, SSL

and STG, securing repayment of the Loan, to the extent its interests in those properties are not

otherwise equitably subrogated as their senior interest and all other just relief.

 COUNT II: FRAUD, FRAUD IN THE INDUCEMENT AS TO HDM, TM, STG and SSL
              AND RELATED RELIEF AS TO ALL DEFENDANTS

       89.     ¶ 1-80, ¶ 87-88 and ¶ 101 are incorporated.

       90.     HDM, TM, STG and SSL acted through and/or conspired to make false/misleading

representations, or omissions of material fact to Plaintiff through HDM, shown above and below,

who promised to repay the Funds intending never to repay them or which could not be repaid, as he

knowingly misrepresented and/or failed to disclose to Plaintiff he (a) was dissolving and/or closing

SSL; (b) which would not exist at 3207 Siebenthaler Ave; (c) sought the Funds only to satisfy

personal debt by him/TM on the Mason Property and/or invest in STG; (d) he and SSL promised to




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repay the Funds which they would not and/or could not repay, per their undisclosed loan purposes

and substantial unpaid debt to other creditors, such as the debt of Sysco, Global, Direct, Arbor and

debt with U.S. Bank, incurred at the same time as Plaintiff’s loan, which did not appear on his credit

report; (e) quitclaimed his interest in the Mason Property at the last minute to TM for $1.00; (f) was

terminating SSL’s account; (g) his bank statements and other documents of SSL were false; (h)

Plaintiff would not have loaned the Funds if these facts were disclosed.

       91.     HDM, TM, STG and SSL conspired to fraudulently obtain the Funds from

Plaintiff, intending to deceive Plaintiff into closing its Loan just with HDM, which they never

intended to repay or could not repay, from which they benefitted by obtaining the Funds.

       92.     Plaintiff actually and justifiably relied upon the false representations or omissions

in paying the Funds to HDM and not securing their repayment with the Mason Property and/or

STG Properties and/or not having the Loan Documents executed by TM, SSL and STG.

       93.     The misrepresentations or omissions of material fact of HDM, TM, STG and SSL

were calculated by them to deceive Plaintiff, a prudent lender, to illegally obtain and use the

Funds, which they would otherwise lack, from which they benefitted by paying their debts and/or

investing in their assets, which they concealed as shown above.

       94.     Plaintiff was proximately and/or actually injured by the misconduct of HDM, TM,

STG and SSL, which reasonably relied upon their above acts and/or omissions in approving and

funding the Loan, without repayment of the Funds secured by TM, the Mason Property, STG, its

property and assets or SSL, which Plaintiff would not have otherwise approved and funded.

       95.     The Instruments were intended to bind those receiving and benefitting from the

Funds, namely HDM, TM, STG and SSL and their property, in exchange for the Funds.




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       96.     TM, STG and SSL were accidentally, mistakenly and/or wrongfully omitted from

the Instruments, contrary to their intended purpose, which they authorized, requested and/or

accepted and ratified and/or otherwise benefitted, which they seek to evade, unjustly impeding

Plaintiff’s recovery of the Funds for which Plaintiff has no adequate legal remedy.

       97.      Per 28 U.S.C. § 2201, O.C.G.A. § 23-1-1 et seq and applicable law, Plaintiff

requests the Court declare and reform the Instruments to reflect their intended execution by TM,

STG and SSL as signatories/grantors with HDM, with a security interest in the Mason and STG

Properties and other property owned by them, relating back to their execution and all just relief

to which the other Defendants are subject and/or subordinate.

       98.     Alternatively, O.C.G.A. § 51-1-1 et seq and applicable law, Plaintiff demands

judgment against Defendants HDM, TM, STG and SSL for compensatory, consequential, special,

nominal, punitive and exemplary damages and all other just relief.

                  COUNT III: FEDERAL RICO AND RELATED RELIEF
                    AS TO DEFENDANTS HDM, TM, STG AND SSL

       99.     ¶ 1-80, ¶ 87-88, ¶ 90-98 are incorporated.

       100.    Per 18 U.S.C. § 1961 et seq, HDM, TM, STG and SSL are persons, employed

by/associated with their enterprise, formed as an association separate and apart from their

existing relationships; to obtain and use the Funds by racketeering, to pay their debts and/or

acquire their assets; from which they benefitted, the sole illegal purpose of their enterprise.

       101.    Per 18 U.S.C. § 1961 et seq, HDM, TM, STG and SSL conducted and/or participated

in their enterprise to commit a pattern of racketeering activity, aiding, abetting and/or assisting,

unlawfully agreeing to assist, and/or conspiring to commit related, continuing crimes, affecting

interstate commerce, devised and done to intentionally, fraudulently obtain and use the Funds for

their personal purposes, by interstate transactions/communications; as follows:




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       (a)     HDM’s false, misleading online loan application as to Loan’s alleged business

purposes, false business name and address, deceiving Plaintiff into believing that HDM/SSL was

an actual business, with a valid purpose for the Loan, causing Plaintiff to approve the Loan and

pay the Funds under these circumstances, in violation of 18 U.S.C. §1342 and §1343;

       (b)     The deceptive call by HDM with Plaintiff misrepresenting the Loan’s purpose, its

parties, SSL’s status, address; ability to repay the Loan, his residence and authorization for

account withdrawals, deceiving Plaintiff into believing the Loan would be repaid from the

account, causing Plaintiff to approve the Loan and provide the Funds based upon the false

information, which HDM/SSL could not and/or never intended to repay, in violation of §1343;

       (c)     The online execution of the Loan Documents deceiving Plaintiff into believing

the Loan was for HDM’s valid business purpose which would be repaid, which had no valid

purpose and HDM/SSL could not and/or never intended to repay, causing Plaintiff to approve the

Loan and provide the Funds based upon the false information in violation of §1343;

       (d)     The fraudulent online approval by HDM for disbursement of the Funds by

Plaintiff’s bank, deceiving Plaintiff, which believed the Loan would be repaid, approving the

Loan and providing the Funds from its FDIC-insured account per the false information, which

HDM/SSL could not and/or never intended to repay, in violation of §1343 and §1344;

       (e)     Receipt of the Funds, deceiving Plaintiff into ratifying the alleged valid Loan

from its FDIC-insured account, which believed HMM/SSL were valid borrowers, who intended

to repay the Funds which they could not and/or would not, in violation of §1343-§1344;

       (f)     Closing the FDIC-insured account to block approved Loan payments, upon which

Plaintiff relied in approving the Loan, barring recovery of the Funds, in violation of §1344;




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       (g)     These related crimes constitute conspiracy in violation of §1349 which HDM,

TM, STG and SSL have also committed by fraudulently soliciting funds from others throughout

the county, including U.S. Bank and the other Defendants as detailed above.

       102.    HDM, TM, STG and SSL targeted Plaintiff to fraudulently, falsely and illegally

obtain and use the Funds to pay their debts and/or invest in their assets, detailed above, which

they concealed; from which they benefitted, violating 18 U.S.C. § 1961 et seq per this (a)

investment of the Funds gained from their racketeering into their enterprise; (b) this use of their

racketeering to acquire or maintain their interest and/or control of their enterprise; (c) this

participation in their enterprise through their pattern of racketeering; and (d) conspiracy to

violate the above laws.

       103.    Plaintiff reasonably relied on the deceptions and fraud forming the basis for the

racketing activity of HDM, TM, SSL and STG, in approving the Loan, executing the Loan

Documents and advancing the Funds, which was unaware of the above crimes.

       104.    The racketeering of HDM, TM, STG and SSL through their enterprise violated 18

U.S.C. § 1961 et seq, reasonably calculated by them to deceive Plaintiff, a prudent lender, to

illegally obtain and use the Funds, which they would otherwise lack, from which they benefitted

by paying their debts and/or investing in their assets, which they concealed as shown above.

       105.    Plaintiff was proximately and/or actually injured in its business/property by

reason of the violations of 18 U.S.C. § 1961 et seq, by HDM, TM, STG and SSL per its reasonable

reliance on their criminal deceptions in approving the Loan and wiring the Funds to HDM/SSL,

without securing their repayment by TM, STG and/or against the Mason Property and STG’s

assets, which Plaintiff would not have otherwise done, precluding their recovery causing their loss.




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       106.    Per 28 U.S.C. § 2201 et seq, 18 U.S.C. § 1961 et seq and applicable law, Plaintiff

demands judgment as to HDM, TM, STG and SSL for disgorgement of and/or damages at least

equal to the Funds, its equitable remedies in this suit; treble damages, punitive damages, pre-

judgment interest from the date of its loan, costs and attorney’s fees.

              COUNT IV: GEORGIA RICO, GSPCA AND RELATED RELIEF
                   AS TO DEFENDANTS HDM, TM, STG AND SSL

       107.    ¶ 1-80, ¶ 87-88, ¶ 90-98, ¶ 101 and ¶ 106 are incorporated.

       108.    Per O.C.G.A. § 16-14-1 et seq, [Georgia RICO] HDM, TM, STG and SSL are

persons, employed by/associated with their enterprise, formed as an association separate and

apart from their existing relationships; which they conducted and/or participated to acquire

/maintain property, the Funds, by racketeering, using them to pay their debts and/or acquire their

assets; from which they benefitted, the sole illegal purpose of their enterprise.

       109.    Per O.C.G.A. § 16-14-1 et seq, HDM, TM, STG and SSL conducted and/or

participated in their enterprise to commit a pattern of racketeering activity, aiding, abetting

and/or assisting, unlawfully agreeing to assist, and/or conspiring to commit related, continuing

crimes, namely the above federal crimes and below Georgia crimes, devised and done to

intentionally, fraudulently obtain and use the Funds for their personal purposes, as follows:

       (a)     The false, misleading online loan application on the Loan’s alleged business

purposes, business name/address, deceiving Plaintiff into providing the Funds based upon the

false information, which HDM/SSL could not and/or never intended to repay, violating O.C.G.A.

§16-8-3 and §16-9-93 [GCSPA] by this unauthorized use;

       (b)     The deceptive call with Plaintiff misrepresenting the Loan’s purpose, its parties,

SSL’s status, its address; ability/intention to repay the Loan, residence and authorization for




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account withdrawals, deceiving Plaintiff into providing the Funds based upon the false

information, which HDM/SSL could not and/or never intended to repay in violation of 16-8-3;

       (c)     The deceptive online execution of the Loan Documents, deceiving Plaintiff into

providing the Funds based upon the false information, which HDM/SSL could not and/or never

intended to repay, executing the Instruments and the online account authorization knowing it

would not be honored, in violation of § 16-8-3, O.C.G.A. § 16-9-20 and O.C.G.A. § 16-9-93;

       (d)     The fraudulent online approval for disbursement of the Funds by Plaintiff’s bank,

in violation of O.C.G.A. § 16-8-3 and § 16-9-20;

       (e)     The deceptive receipt of the wired Funds, deceiving Plaintiff into providing the

Funds based upon the false information, which HDM/SSL could not and/or never intended to

repay, in violation of O.C.G.A. § 16-8-3;

       (f)     Closing the account to block approved Loan payments, deceiving Plaintiff into

providing the Funds based upon the false information, which HDM/SSL could not and/or never

intended to repay, executing the Instruments and the online account authorization knowing it

would not be honored, in violation of § O.C.G.A.16-8-3 and O.C.G.A. § 16-9-20;

       (g)     The above federal crimes set forth in Plaintiff’s count for federal RICO;

       110.    HDM, TM, STG and SSL targeted Plaintiff to fraudulently, falsely and illegally

obtain and use the Funds to pay their debts and/or invest in their assets, detailed above, which

they concealed; from which they benefitted, violating O.C.G.A. § 16-14-1 et seq et seq per their

(a) investment of the Funds gained from their racketeering into their interstate enterprise; (b) use

of their racketeering to acquire or maintain their interest and/or control of their enterprise; (c)

participation in their enterprise through their pattern of racketeering; and (d) conspiracy to

violate the above laws.




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       111.    Plaintiff reasonably relied on the deceptions and fraud forming the basis          for

racketing activity of HDM, TM, SSL and STG in approving the Loan, executing the Loan

Documents and advancing the Funds, which was unaware of the above crimes.

       112.    The racketeering of HDM, TM, STG and SSL through their enterprise violated

O.C.G.A. § 16-14-1 et seq, reasonably calculated by them to deceive Plaintiff, a prudent lender,

to illegally obtain and use the Funds, which they would otherwise lack, by which they benefitted

by paying their debts and/or investing in their assets, which they concealed as shown above.

       113.    Plaintiff was proximately and/or actually injured in its business/property by

reason of the violations of O.C.G.A. § 16-14-1 et seq, by HDM, TM, STG and SSL per its

reasonable reliance on the violations in approving the Loan and wiring the Funds to HDM/SSL,

without securing their repayment by TM, STG and/or against the Mason Property and STG’s

assets, which Plaintiff would not have otherwise done, precluding their recovery causing their loss.

       114.    Per 28 U.S.C. § 2201 et seq, O.C.G.A. § 16-14-1 et seq and applicable law,

Plaintiff demands judgment as to HDM, TM, STG and SSL for disgorgement of and/or damages

at least equal to the Funds, its equitable remedies in this suit; treble damages, punitive damages,

pre-judgment interest from the date of its loan, costs and attorney’s fees.

       115.    Alternatively, per , O.C.G.A. § 16-9-90 et seq Plaintiff demands judgment as to

HDM, TM, STG and SSL for their GSPCA violations, damages, attorney’s fees and costs.




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                          COUNT V: ATTORNEY’S FEES, COSTS
                       AND RELATED RELIEF AS TO DEFENDANTS
                               HDM, TM, STG AND SSL

       116.    ¶ 1-80, ¶ 87-88, ¶ 90-94, ¶ 98, ¶ 101, ¶ 106 and ¶ 115 are incorporated.

       117.    O.C.G.A. § 13-6-11 states as follows:

       The expenses of litigation generally shall not be allowed as a part of the damages;
       but where the plaintiff has specially pleaded and has made prayer therefor and
       where the defendant has acted in bad faith, has been stubbornly litigious, or has
       caused the plaintiff unnecessary trouble and expense, the jury may allow them.

       118.    HDM, TM, STG and SSL acted in bad faith by failing to comply with their legal

duties owed to Plaintiff, intentionally engaging in their pre-suit misconduct, causing the loss of

the Funds, requiring this suit.

       119.    HDM, TM, STG and SSL were stubbornly litigious as there was no bona-fide

dispute of their liability to Plaintiff, requiring its unnecessary trouble and expense to bring suit.

       120.    Under O.C.G.A. § 13-6-11 et seq and applicable law, Plaintiff demands judgment

against HDM, TM, STG and SSL for its attorney’s fees, costs and all other just and proper relief.

       121.    Defendants HDM and/or TM are not minors or adjudged as incompetent, were

not in the military for the last 30 days and not subject to protection per 50 U.S.C. §3901 et seq.

       Respectfully submitted this 16th day of September 2019.

                       By:        /s/Paul G. Wersant
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